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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :

               v.                     :       21-CR-0576 (RC)

FLOYD RAY ROSEBERRY                   :



                                             ORDER

        Upon consideration of Defendant’s Unopposed Motion to Modify Conditions of Release,

it is hereby

        ORDERED that the motion is GRANTED; and it is further

        ORDERED that Mr. Roseberry is permitted to visit Southern Carp Lake for fishing and

recreational activities, and it is not a requirement that his wife accompany him.


                                              ________________________________________
                                              THE HONORABLE RUDOLPH CONTRERAS
